Case 1:19-md-02875-RMB-SAK         Document 2860-1     Filed 09/25/24   Page 1 of 21
                                   PageID: 105855



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

IN RE: VALSARTAN,                             Case No. 19-md-2875
LOSARTAN, AND                                 MDL No. 2875
IRBESARTAN PRODUCTS
LIABILITY LITIGATION                          Honorable Renée Marie Bumb,
                                              Chief District Judge

                                              Special Master Judge Thomas
This Document Relates to All Losartan         Vanaskie
and Irbesartan Actions

     MEMORANDUM OF LAW IN SUPPORT OF WHOLESALER
   DEFENDANTS’ MOTION TO STRIKE PLAINTIFFS’ OBJECTIONS
   TO WHOLESALER DEFENDANTS’ DEPOSITION EXAMINATION
           OF FACT WITNESS MICHELLE KELLER

      Wholesaler Defendants bring this matter before the Court to resolve what

should be a straightforward question: Must Wholesaler Defendants—and the other

co-Defendants in this MDL—cross-notice a party’s deposition in order to ask

questions at that party’s deposition?      Losartan/irbesartan fact depositions are

underway and Plaintiffs have objected to any Wholesaler Defendant asking any

questions at any fact deposition noticed by Plaintiffs, unless that Defendant serves a

cross-notice. Plaintiffs’ position has no support under applicable law and is contrary

to well recognized procedure for conducting depositions in federal court cases.

Wholesalers Defendants respectfully request that the Court strike Plaintiffs’

objections.
Case 1:19-md-02875-RMB-SAK           Document 2860-1    Filed 09/25/24    Page 2 of 21
                                     PageID: 105856



I.    BACKGROUND
      As part of the current losartan/irbesartan fact discovery, Plaintiffs in all cases

in this MDL noticed the deposition of Michelle Keller on August 19, 2024 under

Fed. R. Civ. P. 30, unspecified Local Rules of Civil Procedure, and Case

Management Order No. 20 (“CMO 20”). (Dkt. No. 2816.) Ms. Keller was noticed

for deposition in both her capacity as a corporate representative of Defendant Teva

Pharmaceuticals USA, Inc. (“Teva”), under Fed. R. Civ. P. 30(b)(6), and in her

individual capacity.    (Id.)      The noticed Topics for Ms. Keller’s corporate

representative deposition included Topics about: (1) oral and written

communications with Wholesaler Defendants and others regarding losartan API and

finished dose products (Topics 34-37); (2) tracing of batches and lots of losartan API

and finished dose products sold downstream, including to Wholesaler Defendants

(Topics 46-47); and (3) data on sales of losartan finished dose products in the United

States (Topics 54-55, 57). (Id.)

      Counsel for Plaintiffs deposed Ms. Keller on August 27, 2024. Following

examination by Plaintiffs’ counsel and counsel for Teva, liaison counsel for

Wholesaler Defendants began a brief examination of Ms. Keller regarding noticed

Topics relevant to Wholesaler Defendants. (See excerpts of Deposition of M. Keller,

on August 27, 2024, pp. 176-94, attached as Ex. A to Declaration of Jeffrey

Geoppinger, attached as Ex. 1.) Plaintiffs’ counsel immediately objected to any


                                           2
Case 1:19-md-02875-RMB-SAK         Document 2860-1      Filed 09/25/24   Page 3 of 21
                                   PageID: 105857



examination of Ms. Keller by Wholesaler Defendants on the grounds that

Wholesaler Defendants did not issue a cross-notice for the deposition. (Id. at p. 176.)

Wholesaler Defendants’ examination proceeded subject to that objection, which

Plaintiffs’ counsel repeated prior to follow-up questioning by counsel for Wholesaler

Defendants later in the deposition. (Id. at p. 189.) No other party, including

Defendant Teva (whose witness was being deposed), objected to the Wholesaler

questions. (Id. at p. 176.)

      In an effort to avoid unnecessary disputes at the many upcoming depositions,

on September 4, 2024, liaison counsel for Wholesaler Defendants wrote to Plaintiffs’

counsel asking Plaintiffs to withdraw their objections to Wholesaler Defendants’

questions at the Keller deposition or to provide legal support for their objections.

(See email correspondence dated Sept. 4 to Sept. 22, 2024, attached as Ex. B to

Declaration of Jeffrey Geoppinger, attached as Ex. 1.) Despite multiple efforts to

resolve this dispute, including providing Plaintiffs with legal authority

demonstrating the lack of merit to their objection, Plaintiffs have been unwilling to

withdraw their objection, provide any legal support for their objection, or provide

assurances that they will not continue to makes such objection at the imminent

depositions. (Id.) Unfortunately, given the timing of upcoming depositions (the

next of which is September 25, 2024), Wholesalers cannot wait any longer and must

seek Court intervention now.


                                          3
Case 1:19-md-02875-RMB-SAK        Document 2860-1      Filed 09/25/24   Page 4 of 21
                                  PageID: 105858



II.   LAW AND ARGUMENT

      A.     There Is No Legal Authority That Supports Plaintiffs’ Objection
             To Wholesaler Defendants’ Right To Question Witnesses Based On
             A Purported Failure To Cross-Notice Depositions
      No provision in the Federal Rules of Civil Procedure, the Local Rules of the

District of New Jersey, or CMO 20 (Dkt. No. 632.) (which governs the taking of fact

witness depositions in this MDL) requires a Defendant in this MDL to cross-notice

the deposition of a witness presented by a co-Defendant in response to a notice

issued by Plaintiffs in order to examine the witness. Moreover, district courts, when

presented with this same baseless objection, have held that in multi-party suits, one

party may notice a deposition and other parties may attend the deposition and cross-

examine the deponent without also having to notice the deposition. See FCC v.

Mizuho Medy Co., Ltd., 257 F.R.D. 679, 682 (S.D. Cal. 2009); Loop AI Labs Inc. v.

Gatti, 2015 WL 5522166, at *4 (N.D. Cal. Sept. 18, 2015); Longino v. City of

Cincinnati, 2013 WL 831738, at *5 (S.D. Ohio Mar. 6, 2013) (Rule 30(c)(1) “means

that counsel for both parties of a civil action are permitted to question witnesses

during depositions, regardless of which party noticed the deposition.”); Spray

Products, Inc. v. Strouse, Inc., 31 F.R.D. 211, 212 (E.D. Penn. 1962) (stating that

another party may examine a deponent on issues not addressed in the direct

examination without serving a notice of deposition.). Plaintiffs’ claim that a cross-

notice is required for Wholesaler Defendants to question a witness noticed by


                                         4
Case 1:19-md-02875-RMB-SAK          Document 2860-1     Filed 09/25/24   Page 5 of 21
                                    PageID: 105859



Plaintiffs, or any other party, has no legal support under applicable law and is

contrary to well recognized procedure for conducting depositions in federal court

cases.

         Further, the express terms of CMO 20 demonstrate that Plaintiffs’ objection

is meritless. The only two references to a “cross-notice” of deposition in CMO 20

both make clear that issuance of cross-notices for depositions are not necessary in

this MDL.       Section B.3 states that all depositions subject to CMO 20 are

“automatically cross-noticed in every underlying case within MDL No. 2875,” and

section E.1 provides that “[c]ross notices between this MDL and the NJ [state court]

cases will not be necessary.” (Dkt. No. 632.) There is no provision in CMO 20 that

mandates a cross-notice for any deposition in this MDL. Moreover, section E.1

explains that cross-notices in New Jersey state court cases are not required because

“[t]he parties and the court desire to minimize the expense and inconvenience of this

litigation . . .” (Id.) Plaintiffs’ claim that a party Defendant must cross-notice a

deposition already noticed by Plaintiffs in order to examine the witness at the

deposition is the opposite of “minimiz[ing] the expense and inconvenience of

litigation.” Plaintiffs’ objection is contrary to both the letter and spirit of CMO 20,

and should be struck for that reason as well.

         At bottom, Plaintiffs’ claim that a co-Defendant cannot examine a witness at

deposition because that Defendant did not issue a cross-notice for an already


                                           5
Case 1:19-md-02875-RMB-SAK          Document 2860-1      Filed 09/25/24    Page 6 of 21
                                    PageID: 105860



properly noticed deposition is groundless. No rule of procedure requires such a

needless cross-notice. Nor does CMO 20. In fact, Plaintiffs’ objection violates

CMO 20 section A.8, which prohibits counsel from objecting to deposition questions

“unless permitted under applicable law.” (Id.) Plaintiffs’ objection should be struck.

Wholesaler Defendants also request that the Court make clear that parties to a case

in this MDL in which a deposition has been noticed are not required to issue an

unnecessary cross-notice in order to exercise their right to examine the witness

appearing for deposition.

      B.     Plaintiffs’ Objections Based On The Alleged Scope Of Wholesaler
             Defendants’ Examination Of Ms. Keller Also Are Invalid And
             Unsupported By Any Legal Authority
      On September 17, 2024, three weeks after the deposition of Ms. Keller,

Plaintiffs’ counsel notified Wholesaler Defendants counsel that Plaintiffs now also

object to Wholesaler Defendants’ examination of Ms. Keller on the grounds that

Wholesaler Defendants: (1) asked questions beyond the scope of the notice of

deposition for Ms. Keller and (2) asked questions beyond the scope of Plaintiffs’

examination. (See Ex. B.) Those objections have no merit and are not supported by

any legal authority, just like Plaintiffs’ objection about cross-noticing the deposition.

Nevertheless, the Court need not rule on these objections now because CMO 20

section H.2.c reserves all objections to deposition questions (other than objections

to the form of the question or the existence of a privilege) until trial or other use of


                                           6
Case 1:19-md-02875-RMB-SAK        Document 2860-1       Filed 09/25/24      Page 7 of 21
                                  PageID: 105861



the deposition. However, if the Court prefers to rule on those objections now rather

than later, both objections should both be overruled.

      First, Wholesaler Defendants’ examination of Ms. Keller did not exceed the

scope of the notice for her deposition. Plaintiffs noticed Ms. Keller’s deposition

under Fed. Rule Civ. P. 30(b)(6) on many topics, including:

             34. Your oral and written communications with its API
             Customers or other downstream entities (i.e. wholesalers,
             retailers, consumers, TPP’s) regarding quality, purity, or
             contamination issues related to the Your API.

             35. Your oral and written communications with its
             finished dose customers or other downstream entities (i.e.,
             wholesalers, retailers, consumers, TPP’s) regarding
             quality, purity, or contamination issues related to the Your
             Finished Dose.

             36. Your oral and written statements (defined to include
             representations and warranties) to finished dose
             manufacturers, repackagers, relabelers, wholesalers,
             retailers, and consumers with regard to the contents,
             quality, and purity of Your API.

             46. Tracing of batches and lots of Your API sold
             downstream and ultimately intended for use by consumers
             in the United States.

             47. Tracing of batches and lots of Your finished dose sold
             downstream and ultimately intended for use by consumers
             in the United States.

             54. The quantity/units including pill counts of Your
             finished dose sold in the United States.

             57. Your finished dose sales and pricing data produced by
             you in this litigation (sample documents to be provided
             ahead of deposition during meet and confer process).

                                          7
Case 1:19-md-02875-RMB-SAK         Document 2860-1     Filed 09/25/24   Page 8 of 21
                                   PageID: 105862



             (Dkt. No. 2816.)

      Plaintiffs cannot dispute that the topics they chose are relevant to Wholesaler

Defendants, and the deposition transcript demonstrates that counsel for Wholesaler

Defendants questioned Ms. Keller on those topics directly. (See Ex. A.) Plaintiffs’

counsel’s suggestion otherwise is unsupported.

      Second, Plaintiffs’ notice of deposition for Ms. Keller noticed the deposition

in both Ms. Keller’s capacity as a Rule 30(b)(6) corporate representative, and in her

personal capacity. Thus, even if Wholesaler Defendants’ questions were not about

the topics for which Ms. Keller was designated as a corporate representative (though

they were), those questions were then posed to Ms. Keller in her individual capacity,

and were neither outside the scope of the notice nor improper.

      Finally, with respect to Plaintiffs’ objection that Wholesaler Defendants’

questions to Ms. Keller exceeded the scope of Plaintiffs’ examination, that objection

is baseless. Like Plaintiffs’ cross-notice objection, there is no authority, including

any rule of procedure, CMO 20 provision, or case law that limits a party defendant’s

deposition examination to the scope of the examination conducted by a noticing

Plaintiffs’ counsel. It is illogical that a party could limit an opponent’s ability to

examine a witness at a discovery deposition in that way. Further, Plaintiffs’ position

is contrary to well-regarded authority on discovery in federal court:

             Although Rule 30(c) states that the “[e]xamination and
             cross-examination of witnesses may proceed as permitted

                                          8
Case 1:19-md-02875-RMB-SAK         Document 2860-1     Filed 09/25/24     Page 9 of 21
                                   PageID: 105863



             at the trial under the Federal Rules of Evidence,” this
             provision, when considered in light of the Rules of
             Evidence, has no practical effect upon the scope of cross-
             examination during a deposition, see 4A J. Moore, J.
             Lucas, Moore’s Federal Practice ¶ 30.58 (2nd Ed.1991),
             and “the examiner may ask about anything relevant to the
             subject matter of the action, regardless of whether it was
             raised on direct examination.” 8 C. Wright & A. Miller,
             Federal Practice and Procedure § 2113, at 420.

       Additionally, Plaintiffs’ objection on scope also is contrary to CMO 20

section E.3, which states that the scope of a Rule 30(b)(6) deposition is determined

by the notice, not Plaintiffs’ counsel’s examination. (Dkt. No. 632.) Therefore, for

each of these reasons as well, all of Plaintiffs’ objections to Wholesaler Defendants’

examination of Ms. Keller should be struck.

III.   CONCLUSION
       For all of the foregoing reasons, Wholesaler Defendants request that the Court

(1) strike Plaintiffs’ objection to Wholesaler Defendants’ questioning of Ms. Keller

on the grounds that her deposition was not cross-noticed by Wholesaler Defendants;

and (2) strike Plaintiffs’ objections to the “scope” of Wholesaler Defendants’

examination of Ms. Keller.

 Dated: September 25, 2024             Respectfully submitted,

                                       By: /s/ Jeffrey D. Geoppinger
                                              Jeffrey D. Geoppinger
                                              Liaison Counsel for         Wholesaler
                                              Defendants



                                          9
Case 1:19-md-02875-RMB-SAK   Document 2860-1    Filed 09/25/24   Page 10 of 21
                             PageID: 105864



                                        UB GREENSFELDER LLP
                                        Jeffrey D. Geoppinger
                                        312 Walnut Street, Suite 1400
                                        Cincinnati, OH 45202
                                        Tel: (513) 698-5038
                                        Fax: (513) 698-5039
                                        jgeoppinger@ubglaw.com

                                        Liaison Counsel for Wholesaler
                                        Defendants and Counsel for
                                        AmerisourceBergen Corporation
                                        (n/k/a Cencora, Inc.)

                                        CROWELL & MORING
                                        Andrew D. Kaplan
                                        Daniel T. Campbell
                                        Marie S. Dennis
                                        Emily G. Tucker
                                        1001 Pennsylvania Avenue NW
                                        Washington, D.C. 20004
                                        Tel: (202) 624-1000
                                        Fax: (202) 628-5116
                                        akaplan@crowell.com
                                        dcampbell@crowell.com
                                        mdennis@crowell.com
                                        etucker@crowell.com

                                        Counsel for Cardinal Health, Inc.




                                   10
Case 1:19-md-02875-RMB-SAK        Document 2860-1      Filed 09/25/24   Page 11 of 21
                                  PageID: 105865



                                              NORTON ROSE FULBRIGHT US
                                              LLP
                                              D’Lesli M. Davis
                                              Ellie K. Norris
                                              2200 Ross Avenue, Suite 3600
                                              Dallas, TX 75201-7932
                                              Tel: (214) 855-8221
                                              Fax: (214) 855-8200
                                              dlesli.davis@nortonrosefulbright.com
                                              ellie.norris@nortonrosefulbright.com

                                              Counsel for McKesson Corporation

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 25, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to all CM/ECF participants in this matter.

                                       /s/ Jeffrey D. Geoppinger
                                       Jeffrey D. Geoppinger




                                         11
Case 1:19-md-02875-RMB-SAK   Document 2860-1   Filed 09/25/24   Page 12 of 21
                             PageID: 105866



                             EXHIBIT 1
Case 1:19-md-02875-RMB-SAK       Document 2860-1      Filed 09/25/24   Page 13 of 21
                                 PageID: 105867



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

IN RE: VALSARTAN,                            Case No. 19-md-2875
LOSARTAN, AND                                MDL No. 2875
IRBESARTAN PRODUCTS
LIABILITY LITIGATION                         Honorable Renée Marie Bumb,
                                             Chief District Judge

                                             Special Master Judge Thomas
This Document Relates to All Losartan        Vanaskie
and Irbesartan Actions

   DECLARATION OF JEFFREY D. GEOPPINGER IN SUPPORT OF
  WHOLESALER DEFENDANTS’ MOTION TO STRIKE PLAINTIFFS’
   OBJECTIONS TO WHOLESALER DEFENDANTS’ DEPOSITION
     EXAMINATION OF FACT WITNESS MICHELLE KELLER

      I, Jeffrey D. Geoppinger, declare and state as follows:

      1.    My name is Jeffrey D. Geoppinger and I am over 18 years old.

      2.    I am an attorney at UB Greensfelder LLP, liaison counsel for

Wholesaler Defendants and counsel for AmerisourceBergen Corporation (n/k/a

Cencora, Inc.), in the above-captioned action. I have personal knowledge regarding

all facts in this declaration and would testify competently thereto if called as a

witness.

      3.    Attached as Exhibit A is a true and accurate copy of excerpts of the

Deposition of M. Keller taken on August 27, 2024.
Case 1:19-md-02875-RMB-SAK             Document 2860-1      Filed 09/25/24   Page 14 of 21
                                       PageID: 105868



         4.       Attached as Exhibit B is a true and accurate copy of email

correspondence between myself and counsel for Plaintiffs dated September 4, 2024

to September 22, 2024.

         5.       Pursuant to Local Rule 37.1, I hereby certify that as liaison counsel for

Wholesaler Defendants I have conferred with counsel for Plaintiffs in a good faith

effort to resolve by agreement the issues raised in Wholesaler Defendants’ Motion

to Strike Plaintiffs’ Objections to Wholesaler Defendants’ Deposition Examination

of Fact Witness Michelle Keller without intervention of the Court, and the parties

have not been able to reach an agreement. My communications in this regard took

place via email from September 4, 2024, to September 22, 2024, and are attached as

Exhibit B hereto.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on this 25th day of September, 2024.


                                            /s/ Jeffrey D. Geoppinger
                                            Jeffrey D. Geoppinger




                                               2
4881-5252-7849, v. 1
Case 1:19-md-02875-RMB-SAK   Document 2860-1   Filed 09/25/24   Page 15 of 21
                             PageID: 105869



                             EXHIBIT A

                       FILED UNDER SEAL
Case 1:19-md-02875-RMB-SAK   Document 2860-1   Filed 09/25/24   Page 16 of 21
                             PageID: 105870



                             EXHIBIT B
         Case 1:19-md-02875-RMB-SAK                      Document 2860-1             Filed 09/25/24          Page 17 of 21
                                                         PageID: 105871




From: Geoppinger, Jeff
Sent: Sunday, September 22, 2024 3:31 PM
To: David J. Stanoch <d.stanoch@kanner-law.com>
Cc: Taylor Bacques <t.bacques@kanner-law.com>; D'Lesli M. Davis <dlesli.davis@nortonrosefulbright.com>; Ellie Norris
<ellie.norris@nortonrosefulbright.com>; Dennis, Mimi <MDennis@crowell.com>; Campbell, Daniel
<DCampbell@crowell.com>; Tucker, Emily <ETucker@crowell.com>; Kaplan, Andrew <AKaplan@crowell.com>;
Valsartan PEC <valpec@kirtlandpackard.com>
Subject: RE: Objection Re Cross-Notice of Deposition

Hello Dave,

We have a motion prepared to file, but we would like to make one more effort to resolve plaintiffs’ objection without Court
intervention. We believe that this is the type of dispute that will further frustrate the Court and is an unnecessary waste of time and
money for all involved.

Given the upcoming deposition on September 25, resolving this quickly is important, particularly since plaintiffs have made clear on
the record that they object to Wholesaler Defendants asking any questions at all without having issued a cross-notice. Indeed,
plaintiffs objected before they heard even one question from Wholesaler Defendants, so the issue is broader than plaintiffs’ latest
objections that the questions exceeded the scope of the notice or the scope of plaintiffs’ exam. For that reason, unless Plaintiffs’
agree to withdraw their objection to Wholesaler Defendants asking questions at a deposition without issuing a cross-notice and
agree not to re-raise that objection at upcoming depositions, we will be forced to seek Court intervention.

Let us briefly lay out why we believe Plaintiffs’ objection has no merit:

        Under CMO 20 in this MDL, no party may “object to deposition questions unless permitted by applicable law.” Plaintiffs’
         provided no applicable law supporting their objection to Wholesaler Defendants questioning witnesses at noticed
         depositions without filing a cross notice and have been unwilling to provide any since the Keller deposition. Thus, under
         the governing order in this case, short of being able to provide authority for their objection, Plaintiffs’ should not be
         objecting on those grounds.

        While it is not Wholesalers’ burden to demonstrate that Plaintiffs’ objections are meritless, the law is clear “In a multi-party
         lawsuit, one party may notice the deposition and other parties may attend and cross-examine the deponent without also
         having to notice the deposition.” FCC v. Mizuho Med Co., 257 F.R.D. 679, 682 (S.D. Cal. 2009).

        Moreover, CMO 20’s only reference to cross-noticing depositions are sections B.3 (all depositions are “automatically cross-
         noticed in every underlying case within MDL No. 2875”) and E.1 (“[c]ross notices between this MDL and the NJ [state court]
         cases will not be necessary.”).

        Also of note, Plaintiffs’ ADDITIONAL post-deposition objections about the scope of the questions Wholesalers asked are also
         meritless.
             o First, the questions Wholesalers asked were within the topics identified by Plaintiffs in their 30(b)(6) notice.
             o Second, the witness was also designated in her personal capacity.
             o Third, there is no law obligating Wholesalers to limit their questioning to the scope of Plaintiffs’ direct. In fact, the
                  law is the contrary: “Although Rule 30(c) states that the “[e]xamination and cross-examination of witnesses may
                  proceed as permitted at the trial under the Federal Rules of Evidence,” this provision, when considered in light of
                  the Rules of Evidence, has no practical effect upon the scope of cross-examination during a deposition, see 4A J.
                  Moore, J. Lucas, Moore’s Federal Practice ¶ 30.58 (2nd Ed.1991), and “the examiner may ask about anything
                  relevant to the subject matter of the action, regardless of whether it was raised on direct examination.” 8 C.
                  Wright & A. Miller, Federal Practice and Procedure § 2113, at 420.

                                                                    1
                                                                                       Case 1:19-md-02875-RMB-SAK                                                                                                                                                                                          Document 2860-1   Filed 09/25/24   Page 18 of 21
                                                                                                                                                                                                                                                                                                           PageID: 105872
Given the urgency of this issue, please let us know by close of business Monday whether Plaintiffs will agree to withdraw their
objection to Wholesalers’ questioning of witnesses at depositions without cross-noticing. If we do not hear back, we will be
required to file our motion. Thanks.

------
Jeffrey D. Geoppinger
Partner
UB Greensfelder LLP
D 513.698.5038
M 513.290.7902


From: David J. Stanoch <d.stanoch@kanner-law.com>
Sent: Tuesday, September 17, 2024 7:48 AM
To: Geoppinger, Jeff <jgeoppinger@ubglaw.com>
Cc: Taylor Bacques <t.bacques@kanner-law.com>; D'Lesli M. Davis <dlesli.davis@nortonrosefulbright.com>; Ellie Norris
<ellie.norris@nortonrosefulbright.com>; Dennis, Mimi <MDennis@crowell.com>; Campbell, Daniel
<DCampbell@crowell.com>; Tucker, Emily <ETucker@crowell.com>; Kaplan, Andrew <AKaplan@crowell.com>;
Valsartan PEC <valpec@kirtlandpackard.com>
Subject: RE: Objection Re Cross-Notice of Deposition
Jeff, Notably, you have n ot provide d any auth ority that Wholesalers, or any de fen dant, may ask q uestio ns beyo nd the s co pe o f the e xami nation noticed by Plaintiffs. I f Wholesalers can cite any aut hority that they, as non-noticing partie s, may ask questions that clearly exceed th e




CGBANNERINDI CATOR




Jeff,
Notably, you have not provided any authority that Wholesalers, or any defendant, may ask questions beyond the scope of
the examination noticed by Plaintiffs. If Wholesalers can cite any authority that they, as non-noticing parties, may ask
questions that clearly exceed the scope of the noticing parties’ examination, please do so. Regards, Dave

David J. Stanoch
Kanner & Whiteley, L.L.C.
701 Camp Street
New Orleans, LA 70130
(504) 524-5777(t)
(504) 524-5763(f)
www.kanner-law.com

From: Geoppinger, Jeff <jgeoppinger@ubglaw.com>
Sent: Monday, September 16, 2024 10:20 PM
To: David J. Stanoch <d.stanoch@kanner-law.com>
Cc: Taylor Bacques <t.bacques@kanner-law.com>; D'Lesli M. Davis <dlesli.davis@nortonrosefulbright.com>; Ellie Norris
<ellie.norris@nortonrosefulbright.com>; Dennis, Mimi <MDennis@crowell.com>; Campbell, Daniel
<DCampbell@crowell.com>; Tucker, Emily <ETucker@crowell.com>; Kaplan, Andrew <AKaplan@crowell.com>;
Valsartan PEC <valpec@kirtlandpackard.com>
Subject: RE: Objection Re Cross-Notice of Deposition

Good evening Dave,

Thank you for the response. Notably, you have provided no authority to support plaintiffs’ objection that Wholesalers,
or any other defendant, are required to cross-notice the deposition of a co-defendants’ witness in order to question the
witness at a deposition, including on topics listed in a Rule 30(b)(6) notice of deposition. Accordingly, defendants intend

                                                                                                                                                                                                                                                                                                                 2
                                                                                         Case 1:19-md-02875-RMB-SAK                                                                                                                                                                                               Document 2860-1   Filed 09/25/24   Page 19 of 21
                                                                                                                                                                                                                                                                                                                  PageID: 105873

Regards,

Jeff

------
Jeffrey D. Geoppinger
Partner
UB Greensfelder LLP
D 513.698.5038
M 513.290.7902
From: David J. Stanoch <d.stanoch@kanner-law.com>
Sent: Friday, September 13, 2024 6:43 PM
To: Geoppinger, Jeff <jgeoppinger@ubglaw.com>
Cc: Taylor Bacques <t.bacques@kanner-law.com>; D'Lesli M. Davis <dlesli.davis@nortonrosefulbright.com>; Ellie Norris
<ellie.norris@nortonrosefulbright.com>; Dennis, Mimi <MDennis@crowell.com>; Campbell, Daniel
<DCampbell@crowell.com>; Tucker, Emily <ETucker@crowell.com>; Kaplan, Andrew <AKaplan@crowell.com>;
Valsartan PEC <valpec@kirtlandpackard.com>
Subject: RE: Objection Re Cross-Notice of Deposition
Jeff, Plainti ffs will n ot withdraw their obje ction s to Wholesales ’ que stions at the K eller deposition. Whole salers di d not cr oss-notice the de po sition, an d among other thi ngs W holesalers ’ que stions we nt beyond the s cop e of Plaintiffs’ q uestio ning. Regar ds, Dave David J. Stanoch K




Jeff,
Plaintiffs will not withdraw their objections to Wholesales’ questions at the Keller deposition. Wholesalers did not cross-
notice the deposition, and among other things Wholesalers’ questions went beyond the scope of Plaintiffs’
questioning. Regards, Dave


David J. Stanoch
Kanner & Whiteley, L.L.C.
701 Camp Street
New Orleans, LA 70130
(504) 524-5777(t)
(504) 524-5763(f)
www.kanner-law.com

From: David J. Stanoch
Sent: Friday, September 6, 2024 12:21 PM
To: Geoppinger, Jeff <jgeoppinger@ubglaw.com>
Cc: Taylor Bacques <t.bacques@kanner-law.com>; D'Lesli M. Davis <dlesli.davis@nortonrosefulbright.com>; Ellie Norris
<ellie.norris@nortonrosefulbright.com>; Dennis, Mimi <MDennis@crowell.com>; Campbell, Daniel
<DCampbell@crowell.com>; Tucker, Emily <ETucker@crowell.com>; Kaplan, Andrew <AKaplan@crowell.com>
Subject: Re: Objection Re Cross-Notice of Deposition

Jeff,
We are in receipt of your email from a couple of days ago. We are considering your position and will respond soon.
Regards, Dave


                                                                                        On Sep 6, 2024, at 10:34 AM, Geoppinger, Jeff <jgeoppinger@ubglaw.com> wrote:


                                                                                        Dave/Taylor:
                                                                                                                                                                                                                                                                                                                        3
Case 1:19-md-02875-RMB-SAK                                 Document 2860-1                    Filed 09/25/24                Page 20 of 21
                                                           PageID: 105874

I am following up on my email below. Plaintiffs in losartan/irbesartan cases have
recently issued the three attached notices of deposition for Torrent and Teva
witnesses. Is it still plaintiffs’ position that party defendants in those cases, like
Wholesalers, are required to cross-notice these depositions in order to question the
witness if counsel deems it necessary? As noted below, I have found no authority
for such a requirement, including in CMO No. 20. Please let me know at your first
opportunity. If we can’t reach an understanding, defendants may need to raise the
issue with the Court next week before the depositions scheduled for 9/12. Thanks.

Jeff

Jeffrey D. Geoppinger
Partner


DIRECT: 513.698.5038
DIRECT FAX: 216.583.7001
FIRM: 513.698.5000
MOBILE: 513.290.7902
jgeoppinger@ubglaw.com | bio | vCard


UB Greensfelder LLP
312 Walnut Street, Suite 1400
Cincinnati, Ohio 45202-4029
ubglaw.com

<image001.png>


UB GREENSFELDER LLP - CONFIDENTIAL COMMUNICATION
This email and any files transmitted with it are confidential and are intended solely for the use of the individual or entity
to whom it is addressed. If you are not the intended recipient or the person responsible for delivering the email to the
intended recipient, you have received this email in error and any use, dissemination, forwarding, printing, or copying of
this email and any file attachments is strictly prohibited. If you have received this email in error, please immediately
notify us by reply email to the sender or by telephone at 216.583.7000 or 314.241.9090. Please delete this email and
its attachments from your system and do not retain any copies. You will be reimbursed for reasonable costs incurred
in notifying us. Opinions, conclusions, and other information in this message that do not relate to the official business
of UB Greensfelder LLP are neither given nor endorsed by it.


On Sep 4, 2024, at 8:45 AM, Geoppinger, Jeff <jgeoppinger@ubglaw.com> wrote:

Dave:

I am writing regarding the objection lodged by plaintiffs at the deposition of Teva corporate
representative Michelle Keller regarding my examination of Ms. Keller on behalf of Wholesaler
defendants. Plaintiffs objected to my exam of Ms. Keller on the grounds that Wholesalers had
not issued a cross-notice for the deposition. I have reviewed the Federal Rules of Civil
Procedure, the USDC New Jersey Local Rules, and the CMOs issued by the Court in the
Valsartan/Losartan/Irbesartan consolidated MDL litigation. I have not located any authority that
requires a party defendant in the litigation to issue a cross-notice in order to examine a witness in
the case noticed by plaintiffs. If I am missing something and you are aware of such authority,
please let us know. Otherwise, let us know if plaintiffs will withdraw their objection to my
examination of Ms. Keller on behalf of Wholesalers. If we are unable to agree on whether a
                                                                        4
         Case 1:19-md-02875-RMB-SAK              Document 2860-1 Filed 09/25/24 Page 21 of 21
                                                  PageID: 105875
         cross-notice is necessary or not in order for counsel for a defendant to conduct an exam,
         Wholesalers would like to get clarification from the Court on that point. Thanks.

         Jeff


         Jeffrey D. Geoppinger
         Partner


         DIRECT: 513.698.5038
         DIRECT FAX: 216.583.7001
         FIRM: 513.698.5000
         MOBILE: 513.290.7902
         jgeoppinger@ubglaw.com | bio | vCard


         UB Greensfelder LLP
         312 Walnut Street, Suite 1400
         Cincinnati, Ohio 45202-4029
         ubglaw.com

         <image003.png>


         UB GREENSFELDER LLP - CONFIDENTIAL COMMUNICATION
         This email and any files transmitted with it are confidential and are intended solely for the use of the individual or entity
         to whom it is addressed. If you are not the intended recipient or the person responsible for delivering the email to the
         intended recipient, you have received this email in error and any use, dissemination, forwarding, printing, or copying of
         this email and any file attachments is strictly prohibited. If you have received this email in error, please immediately
         notify us by reply email to the sender or by telephone at 216.583.7000 or 314.241.9090. Please delete this email and
         its attachments from your system and do not retain any copies. You will be reimbursed for reasonable costs incurred
         in notifying us. Opinions, conclusions, and other information in this message that do not relate to the official business
         of UB Greensfelder LLP are neither given nor endorsed by it.




         <Doc. #2827 Deposition of Paras Sheth.pdf>
         <Doc. #2828 Videotaped Oral Deposition of Ganesh Bugde.pdf>
         <Doc. #2830 Videotaped Oral Deposition of Teva Witness Mahendra Barot.pdf>


This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. If you are
not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.




This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. If you are
not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.




                                                                                 5
